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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

JONATHAN SOLOMON,
                                           Civil Case No. 22-CV-03137-JEB
                        Plaintiff,

             -against-

DECHERT LLP, DAVID NEIL GERRARD,
DAVID GRAHAM HUGHES, NICHOLAS DEL          ORAL HEARING REQUESTED
ROSSO, VITAL MANAGEMENT SERVICES,
INC., AMIT FORLIT, ISRAEL INSIGHT
ANALYSIS AND RESEARCH, LLC, SDC-
GADOT LLC, AMIR HANDJANI, ANDREW
FRANK, and KARV COMMUNICATIONS,
INC.,

                         Defendants.


                 MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANT DECHERT LLP’S MOTION TO DISMISS

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     February 3, 2023
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       Defendant Dechert LLP (“Dechert”) respectfully submits this memorandum in support of

its motion to dismiss the Complaint filed by Plaintiff Jonathan Solomon on October 14, 2022.

                                       INTRODUCTION

       In June 2017, more than five years before Plaintiff commenced this action, The Wall

Street Journal (“the Journal”) terminated Plaintiff’s employment as a reporter. As the Complaint

acknowledges, the immediate cause of the firing was a heads-up from the Associated Press that it

was going to publish a story about serious ethical lapses Plaintiff had engaged in with one of his

longtime sources, Farhad Azima. See Compl. ¶¶ 99-100. The Associated Press’s reporting was

based, in part, on Plaintiff’s emails with Azima, including emails about business opportunities

for the two of them. See id. ¶¶ 95-101.

       In March 2018, more than four years before filing the Complaint, Plaintiff wrote an essay

in the Columbia Journalism Review entitled “The Source: How Hacked Emails and a Yacht in

Monaco Ended my Career at The Wall Street Journal” (the “CJR Essay”). 1 Among other things,

Plaintiff wrote, “I understand that I made serious mistakes in managing my source relationship

with Azima.” Plaintiff also wrote that he believed that Dechert played some role in the

disclosure of his improper emails with Azima. Id.

       In October 2022, Plaintiff filed the instant eight-count, seventy-page complaint (the

“Complaint”), alleging that eleven Defendants, including Dechert, together with unidentified

“Cohorts,” formed a racketeering enterprise that exposed his improper emails and should be held

responsible for the Journal’s decision to terminate him. If only his unethical conduct had

remained secret, his theory goes, Plaintiff could have escaped the consequences of his


1 See Jay Solomon, The Source, COLUMBIA JOURNALISM REVIEW (March 5, 2018),
https://www.cjr.org/special_report/the-source.php (attached as Exhibit 1 to the Declaration of
John C. Quinn (the “Quinn Decl.”)). As described below, in footnote 6, the Court can take
judicial notice of the CJR Essay for purposes of establishing Plaintiff was on notice of his claims
at that time. See Sandza v. Barclays Bank PLC, 151 F. Supp. 3d 94, 113 (D.D.C. 2015).
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wrongdoing. On that theory, he asserts a slew of civil Racketeer Influenced and Corrupt

Organizations (“RICO”), federal wiretapping, tort, and conspiracy claims, and seeks to recover

his pay, as well as unspecified damages for “pain, suffering, mental anguish, emotional distress,”

all “trebled,” plus punitive damages, interest, and fees and costs. For the reasons set forth below,

Plaintiff’s claims are untimely, without merit, and a misuse of the civil RICO statute. The

Complaint should be dismissed in its entirety with prejudice.

       First, Plaintiff’s claims are all untimely. Of Plaintiff’s causes of action, his RICO claims

have the longest statute of limitations, at four years. And for civil RICO claims, “discovery of

the injury, not discovery of the other elements of a claim, is what starts the clock.” Rotella v.

Wood, 528 U.S. 549, 555 (2000). Plaintiff was fired in June 2017, more than five years before

he filed this action. And Plaintiff certainly knew of both his own improper conduct and the

exposure of his emails before he was fired. Indeed, the Journal informed Plaintiff that it was

aware of his inappropriate dealings with Azima as early as December 2016. Plaintiff discussed

all of this in the CJR Essay—and even that was more than four years prior to filing. Plaintiff

tries to escape the time bar by alleging that the conduct at issue was “fraudulently concealed”

from him. Compl. ¶ 125. But “the doctrine of fraudulent concealment does not come into

play . . . if a plaintiff [was] on notice of a potential claim,” Nader v. Democratic Nat’l Comm.,

567 F.3d 692, 700 (D.C. Cir. 2009), and here, Azima was making public allegations about

Dechert’s supposed involvement in the release of his emails as early as May 2017, see Amended

Complaint, Azima v. RAK Investment Authority, No. 16-cv-1948 (D.D.C. May 16, 2017), ECF

No. 28 (the “Azima D.C. Proceeding”), and Plaintiff admitted his awareness of that proceeding

in the CJR Essay. See Quinn Decl., Ex. 1 at 4-5. It is thus clear that Plaintiff has been on notice

of his injury and his claims since at least 2017. As a result his claims are all time-barred.




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       Second, even if his Complaint were timely, it fails to state a claim on which relief may be

granted. Plaintiff’s lead RICO claim does not sufficiently allege a single cognizable predicate

act by Dechert (or any Defendant). Nor does it allege the required “pattern” of racketeering

activity; rather, it alleges precisely the type of “single scheme, [] single injury, and few victims”

that makes it “virtually impossible for plaintiffs to state a RICO claim.” Western Assocs. Ltd.

P’ship ex rel. Ave Assocs. Ltd. P’Ship v. Mkt. Square Assocs., 235 F.3d 629, 262 (D.C. Cir.

2001); Broidy Cap. Mgmt. v. Muzin, No. 19-cv-0150, 2020 WL 1536350, at *9 (D.D.C. Mar. 31,

2020) (dismissing RICO claim based on alleged hack and release for failure to allege a “pattern”

of racketeering activity). Plaintiff also alleges no basis to maintain—and in fact makes

allegations that refute—that his injuries were proximately caused by Defendants’ alleged

conduct, which was purportedly targeted at Azima, not at Plaintiff. Plaintiff’s firing, and

resulting “emotional distress,” Compl. ¶ 217, was caused by the content of his own emails, and

“the independent actions of third and even fourth parties,” Hemi Grp., LLC v. City of New York,

N.Y., 559 U.S. 1, 15 (2010), namely the Journal and the Associated Press.

       Plaintiff’s remaining federal and state claims also fail. His claims pursuant to the Federal

Wiretap Act should be dismissed because that statute applies by its terms only to “interception”

that is “contemporaneous with the communication’s transmission.” McPherson v. Harker, No.

18-cv-3082, 2021 WL 1820290, at *10 (D.D.C. May 6, 2021), aff’d, 2022 WL 985412 (D.C. Cir.

Mar. 28, 2022). The Complaint alleges no such real-time interception here. Moreover, the

Federal Wiretap Act does not apply to interceptions that occurred extraterritorially, and here, the

alleged “hacking” took place in India. See Compl. ¶ 74; Huff v. Spaw, 794 F.3d 543, 547 (6th

Cir. 2015).

       The Complaint’s only ostensible basis for subject-matter jurisdiction appears to be

federal question jurisdiction, see Compl. ¶ 2, and if the RICO and Wiretap Act claims are



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dismissed, there is none. But even if the Court reaches them, the state law claims fail as well.

Plaintiff’s claims pursuant to the D.C. Wiretap Act fail because that statute does not apply to

emails at all, but rather the “aural acquisition” of “wire or oral communication(s).” D.C. Code

§ 23-541(3) (emphasis added). Plaintiff’s claim for tortious interference with business

relationships fails because he does not plead that he had anything beyond at-will employment,

which cannot support the claim as a matter of law. Moreover, tortious interference claims do not

apply to the disclosure of “truthful information,” Int’l City Mgmt. Ass’n Ret. Corp. v. Watkins,

726 F. Supp. 1, 6-7 (D.D.C. 1989), and Plaintiff’s claim is, by his own admission, based on the

exposure of his actual communications. Finally, Plaintiff’s claim for civil conspiracy fails

because civil conspiracy is not an independently actionable tort. Exec. Sandwich Shoppe, Inc. v.

Carr Realty Corp., 749 A.2d 724, 739 (D.C. 2000). To the extent Plaintiff relies on another tort,

he does not sufficiently allege one.

        For these reasons, and others set forth below, the Complaint should be dismissed in its

entirety.

                                PLAINTIFF’S ALLEGATIONS

        Plaintiff’s sprawling 70-page, 225-paragraph Complaint wanders between impassioned

storytelling, outright conjecture, and tangents of little to no relevance to his purported causes of

action. But see Fed. R. Civ. P. 8(a)-(e). For all its meandering complexity, the Complaint boils

down to three purported sets of allegations: first, the purported kidnapping and extortion of non-

party Karam Salah Al Din Awni Al Sadeq (the “Al Sadeq Allegations”), Compl, ¶¶ 64-70;

second, the hack and release of Azima’s emails to the Journal and Associated Press (the “Hack-

and-Release Allegations”), id. ¶¶ 71-101; and third, the “fraudulent concealment and coordinated

perjury initiatives” that were purportedly meant to cover up the hacking (the “Cover-up

Allegations”), id. ¶¶ 102-134. The allegations concerning each are summarized below in turn.



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       I.      Background

       Prior to June 2017, Plaintiff was the chief foreign affairs correspondent for The Wall

Street Journal. Compl. ¶ 12. Defendant Dechert is a global law firm with more than twenty

offices worldwide. Id. ¶ 19. Defendants David Hughes and David Gerrard are former Dechert

partners. Id. ¶¶ 22, 24.

       The non-party Emirate of Ras Al Khaimah (“RAK”) is one of the seven United Arab

Emirates (“UAE”). The Complaint alleges that the Ras Al Khaimah Investment Authority

(“RAKIA”) is an “instrumentality” of RAK. Id. ¶ 20. RAK is ruled by non-party Sheikh Saud

(the “Ruler”). Id. ¶ 33. Dechert, and specifically Gerrard and Hughes, previously served as

counsel to RAKIA. Id. ¶¶ 20.

       Non-party Azima is alleged to be a businessman with ties to the CIA who Plaintiff claims

previously brokered business deals involving RAK and the Ruler, id.. ¶¶ 34, 85, but whose

relationship with the Ruler ultimately soured. Id. ¶ 61. Azima also served as a source to

Plaintiff in connection with reporting for the Journal. Id. ¶ 34.

       While Plaintiff devotes pages of his Complaint to discussion of Iranian sanctions, Compl.

¶¶ 34-36, the attempted sale of a Georgian hotel, and palace intrigue within RAK, id. ¶¶ 33-62,

almost none of that is relevant to his claims. At its core, Plaintiff alleges that RAKIA hired

Dechert to “investigate claims of fraudulent activity at RAKIA.” Id. ¶ 36. This investigation

came to include looking at Azima’s prior business deals with RAK. Id. ¶¶ 38, 44. According to

Plaintiff, Dechert, its agents and unspecified “Cohorts”—a term Plaintiff defines solely as

unidentified “fellow participants in a racketeering enterprise,” id. ¶ 14—conducted their legal

work for RAKIA using unlawful methods. Id. passim.




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       II.     The Al Sadeq Allegations

       Al Sadeq is a Jordanian businessman who, in 2020, filed a claim in the United Kingdom

against Dechert, Gerrard, Hughes, and another Dechert attorney relating to an allegedly improper

detention in 2014. Compl. ¶¶ 62, 64. 2 Plaintiff echoes the claims of that filing in his own

Complaint, alleging that “RAK State Security Investigations personnel” detained Al Sadeq in the

“GHQ,” presumably referring to the military General Headquarters in RAK. Id. ¶¶ 64-65.

Plaintiff alleges that while Al Sadeq was detained, Gerrard “aggressively questioned” Al Sadeq

in an attempt to elicit “false information to implicate Mr. Azima.” Id. ¶ 64. Plaintiff additionally

alleges that another Dechert attorney directed the search of Al Sadeq’s home in Dubai. Id. ¶ 65.

Finally, Plaintiff alleges that Al Sadeq was transferred to Al Barirat Camp in Al Ashqar in RAK.

Id. ¶ 66. All of this alleged activity took place within the UAE.

       III.    The Hack-and-Release Allegations

       In 2015, Azima allegedly became a “target” of Dechert’s investigation on behalf of RAK.

Compl. ¶ 72. The Complaint alleges that Gerrard worked with a non-party investigator named

Stuart Page to hire various entities to hack and distribute Azima’s emails and other data. Id.

¶¶ 44, 76. This allegedly included hiring Defendant Nicholas Del Rosso and his company

Defendant Vital Management Services (“Vital”) to work with additional non-parties located in

India to conduct the hacking, id. ¶¶ 7, 74; Defendant Forlit and his companies Defendants Israel

Insight Analysis and Research (“Insight”) and SDC-Gadot LLC (“SDC-Gadot”) to independently

locate the hacked data on the internet, id. ¶¶ 8, 74, 87; and Defendants Amir Handjani, Andrew

Frank, and their company KARV Communications (“KARV”) to “disseminat[e] those materials



2The Complaint obliquely references another “Jordanian businessman,” Jihad Quzmar, who also
“filed [a] Particulars of Claim” against Dechert claiming he was “abducted and unlawfully
detained in September 2014.” Compl. ¶ 127. Other than this brief mention of a filing in a
different litigation, the Complaint contains no allegations regarding Quzmar.


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to the press.” Id. ¶ 6. Conveniently, the Complaint avoids any discussion of the contents of any

of the emails that were allegedly hacked, including Plaintiff’s own correspondence with Azima.

       In December 2016, the Washington D.C. bureau chief of the Journal called Plaintiff in to

a meeting with “some Dow Jones lawyers,” where they presented Plaintiff “with some of the

hacked and stolen correspondence between him and Mr. Azima.” Id. ¶ 95. Plaintiff does not

allege how his employer obtained his correspondence with Azima. After that meeting, Plaintiff

“noticed some changes in how he was being treated on the job,” but he “remained employed and

continued writing front page stories for the paper.” Id. ¶ 98

       Six months later, Plaintiff was contacted by an Associated Press reporter, Jeff Horwitz,

who said he was writing about Plaintiff’s business dealings with Azima. Id. ¶ 99. Horwitz also

informed the Journal that he had evidence Plaintiff “played a role in trafficking arms to the

Middle East; was part of a conspiracy to instigate a coup against the royal family of Kuwait”;

and “had an interest in Denx,” a company Azima had formed. Id. ¶ 100. The Journal fired

Solomon “in connection with the accusations advanced by Mr. Horwitz’s reporting.” Id.

       While Plaintiff vaguely alleges he was “framed . . . for alleged violation of journalism

ethics,” id. ¶ 165, or that his communications “were selected in a manipulative and misleading

way to present a false narrative implicating [him] in purported improper” activities, id. ¶ 39,

Plaintiff does not allege that the hacked emails whose distribution purportedly led to his

termination were not his authentic communications. Indeed, in the CJR Essay, Plaintiff

conceded that he “had accepted the gift of time on [Azima’s] yacht,” had “sat in on

conversations and meetings that [he] shouldn’t have” regarding business ventures that “[Azima

and his colleagues] thought could involve me,” and had not been “forthcoming enough about all

of [his] contacts with Azima” with the Journal. Quinn Decl., Ex 1 at 9, 14.




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       IV.     Cover-up Allegations

       The remainder of Plaintiff’s allegations involve “the racketeering enterprise’s fraudulent

concealment and coordinated perjury initiatives.” Compl. ¶¶ 102-134. This purported “cover

up” allegedly played out largely in the context of two litigations. Id. In 2016, RAKIA sued

Azima in the United Kingdom for fraud based on their prior business dealings. See RAKIA v.

Azima, Case No. HC-2016-002798 (the “U.K. Proceeding”). Some of the evidence in that case

involved emails from Azima’s account. Compl. ¶ 109. In response, months later, Azima sued

RAKIA in this Court (in the aforementioned Azima D.C. Proceeding), alleging that RAKIA

hacked his emails. See Complaint, Azima v. RAK Investment Authority, No. 16-cv-1948 (D.D.C.

Sept. 30, 2016), ECF No. 1. The Azima D.C. Proceeding was eventually dismissed by the D.C.

Circuit on forum non conveniens grounds based on a prior settlement agreement between Azima

and RAKIA. See Azima v. RAKIA, 926 F.3d 870, 880 (D.C. Cir. 2019). After his claims were

dismissed, Azima filed counterclaims against RAKIA in the U.K. Proceeding based on the

alleged hacking, at a later stage adding Dechert (and others) as defendants. That proceeding is

pending. 3

       Plaintiff alleges that Dechert filed briefs before this Court and the D.C. Circuit “falsely

and misleadingly asserting that Mr. Azima’s stolen data was ‘obtained via publicly available

internet sources.’” Compl. ¶ 111. Plaintiff also asserts that meetings were held to fabricate

responses to Azima’s inquiries in those proceedings regarding how his data had been discovered

by RAKIA, including meetings in Cyprus and Switzerland. Id. ¶¶ 111-16. Plaintiff does not




3Recently, Azima also filed suit in the Southern District of New York, alleging that Dechert and
other defendants engaged in a RICO conspiracy related to the same purported “cover-up” alleged
here. See Complaint, Azima et al. v. Dechert LLP et al., No. 22-cv-08728 (S.D.N.Y. Oct. 13,
2022), ECF No. 1. The Court in that case stayed discovery sua sponte and set a briefing
schedule for motions to dismiss. Id., ECF No. 104.


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(and could not) connect the supposedly inaccurate briefs or testimony to his firing (which had

already happened) or any other specific harm alleged in the Complaint.

       Finally, Plaintiff makes an additional allegation that Page retained Defendant Forlit “to

employ hacking techniques” to determine who was funding Al Sadeq’s litigation against Dechert

described above, “and did locate such information, which he shared with Mr. Page and which

Mr. Page in turned shared with Defendants Mr. Gerrard and Mr. Handjani.” Id. ¶ 131. Plaintiff

does not state who was hacked, when they were hacked, or how they were hacked. Nor does

Plaintiff allege that the hacking actually occurred nor make any effort to connect his firing or

resulting distress to the purported hacking.

       V.      Plaintiff’s Claims

       Based on the conduct outlined above, Plaintiff asserts claims for violations of civil RICO

pursuant to 18 U.S.C. § 1964 (Counts I and VIII); the Electronic Communications Privacy Act of

1986 (the “Federal Wiretap Act”), 18 U.S.C. §§ 2511(1)(c) and 2521 (Counts II and III); D.C.

Wiretap Act, D.C. Code §§ 23-542 and 23-554 (Counts IV and V); tortious interference with

business relationships (Count VI); and civil conspiracy (Count VII).

                                    STANDARD OF REVIEW

       Rule 12(b)(6) requires that a complaint “contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A plaintiff’s “obligation

to provide the grounds of his entitlement to relief ‘requires more than labels and conclusions, and

a formulaic recitation of the elements of a cause of action will not do.’” Greenpeace, Inc. v.

Dow Chemical Co., 808 F. Supp. 2d 262, 267-68 (D.D.C. 2011) (quoting Twombly, 550 U.S. at

555). The facts alleged “must be enough to raise a right to relief above the speculative level.”

Id. And the Court “need not accept inferences drawn by plaintiffs if such inferences are



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unsupported by the facts set out in the complaint.” Harris v. Corr. Corp. of America, 796 F.

Supp. 2d 7, 10 (D.C. Cir. 2011) (quoting Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1276

(D.C. Cir. 1994). Nor should courts accept “a legal conclusion couched as a factual allegation,”

or “naked assertions of unlawful misconduct devoid of further factual enhancement.” Id.

(cleaned up) (quoting Iqbal, 556 U.S. at 678).

                                           ARGUMENT

       Plaintiff brings eight causes of action. All of them are barred by the applicable statutes of

limitations, and none of them states a claim upon which relief may be granted. See Fed. R. Civ.

P. 12(b)(6).

       I.      All of Plaintiff’s Claims Are Barred by the Applicable Statutes of Limitations

               A. The Applicable Statutes of Limitations and Their Starting Points

       The statute of limitations for civil RICO claims is four years from the date a plaintiff

discovers or should have discovered his injury. Rotella, 528 U.S. at 552, 555. The statute of

limitations for a civil claim under the federal wiretap law, 18 U.S.C. § 2511, is “two years after

the date upon which the claimant first has a reasonable opportunity to discover the violation.” 18

U.S.C. § 2520(e) (emphasis added). The statute of limitations for tortious interference with

business relationships and civil conspiracy under D.C. law is three years “from the time the

right to maintain the action accrues.” D.C. Code § 12-301(8); Zandford v. NASD, 30 F. Supp. 2d

1, 24 (D.D.C. 1998). The D.C. Wiretap Act does not specify the applicable statute of limitations,

so claims under the statute are subject to D.C.’s residual three-year statutory limitations period.

D.C. Code § 12–301(8). In other words, the longest statute of limitations applicable to Plaintiff’s

claims is four years for the RICO claim.

       The Supreme Court has made clear that for civil RICO claims, “discovery of the injury,

not discovery of the other elements of a claim, is what starts the clock.” Rotella, 528 U.S. at



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555. Whether or not a plaintiff knew of the alleged pattern of racketeering activity that caused

the harm, or of any predicate act in that pattern, has no bearing on the statute of limitations

analysis. See Klehr v. A.O. Smith Corp., 521 U.S. 179, 187 (1997); Rotella, 528 U.S. at 555.

Nor does Plaintiff need to know the alleged wrongdoer; it does not matter if a plaintiff “remained

unaware of the defendants’ racketeering activities, and unaware that [his] injuries arose out of

such activities.” Hargraves v. Cap. City Mortg. Corp., 140 F. Supp. 2d 7, 16 (D.D.C. 2000),

amended on other grounds, 147 F. Supp. 2d 1 (D.D.C. 2001).

       For its part, the Federal Wiretap Act provides that a civil action must commence within

two years once the claimant “first has a reasonable opportunity to discover the violation,” i.e.,

the wiretapping. 18 U.S.C. § 2520(e). A plaintiff need not even “actually ‘discover’ or be aware

of the violation,” Sparshott v. Feld Ent., Inc., 311 F.3d 425, 429 (D.C. Cir. 2002), but actual

knowledge of the wiretapping is sufficient. Id. “A plaintiff need not even know the perpetrators

of an illicit wiretapping if knowledge of the wiretapping itself would lead to discovery of the

perpetrators.” Id. at 430.

       Similarly, Plaintiff’s claims under D.C. law are typically governed by when the injury

actually occurs. Radbod v. Moghim, 269 A.3d 1035, 1044 (D.C. 2022); Medhin v. Hailu, 26

A.3d 307, 310 (D.C. 2011). When the relationship between the fact of the injury and the tortious

conduct is obscure, “a cause of action accrues when the plaintiff has knowledge of (or by the

exercise of reasonable diligence should have knowledge of) (1) the existence of the injury, (2) its

cause in fact, and (3) some evidence of wrongdoing.” Knight v. Furlow, 553 A.2d 1232, 1234

(D.C. 1989). As with federal law, a plaintiff need not know the full details of his injury for

accrual to occur. Drake v. McNair, 993 A.2d 607, 617-18 (D.C. 2010) (accrual triggered by

“general knowledge that defendant’s conduct was wrongful, rather than knowledge of precise

legal remedies for that wrongful conduct”); Medhin, 26 A.3d at 310 (“The limitations period[’s] .



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. . running is not delayed simply because the claimant does not know (or cannot be charged with

knowledge of) the full breadth or nature of the defendant’s wrongdoing.” (cleaned up)).

               B. Plaintiff’s Claims Accrued at the Latest in June 2017

       In December 2016, Plaintiff was made aware that his emails with Azima had been

disclosed to his employer. Compl. ¶ 95. Plaintiff was subsequently fired from the Journal in

June 2017. Id. ¶ 12. There can thus be no dispute that Plaintiff had knowledge of his injury—

i.e., the disclosure of his emails and his termination from the Journal—by no later than June

2017. Id. ¶¶ 95-100. That was all that was required for Plaintiff’s claims to accrue. See Rotella,

528 U.S. at 555 (RICO claim); Sparshott, 311 F.3d at 429 (Federal Wiretap claim); Radbob, 269

A.3d at 1044 (D.C. claims).

       Plaintiff attempts to circumvent the statute of limitations by alleging that he did not and

“still does not know the full nature of the Defendants’ activities and role in the conspiracy and

enterprise.” Compl. ¶ 18; see also id. ¶ 41 (alleging Plaintiff lacked knowledge of “the roles of

all other Defendants” until 2020). But courts uniformly refuse to excuse the untimely filing of

litigation based on such assertions; indeed, binding precedent provides that “[a]ccrual does not

wait until the injured party has access to or constructive knowledge of all the facts required to

support its claim,” Sprint Commc’ns Co., L.P. v. F.C.C., 76 F.3d 1221, 1228 (D.C. Cir. 1996),

and a plaintiff cannot “postpone suit until he knows every defendant by name and title.” Hobson

v. Wilson, 737 F.2d 1, 36 (D.C. Cir. 1984), overruled in part on other grounds by Leatherman v.

Tarrant Cnty. Narcotics Intel. & Coordination Unit, 507 U.S. 163 (1993); Nader v. Democratic

Nat’l Comm., 567 F.3d 692, 701 (D.C. Cir. 2009) (discovery of other participants’ role “does not

alter the fundamental nature of the wrong at issue, and so the addition of [a] coconspirator cannot

resuscitate [Plaintiff’s] claim against the entire conspiracy”); Fitzgerald v. Seamans, 384 F.

Supp. 688, 696 (D.D.C. 1974), overruled in part on other grounds, 553 F.2d 220 (D.C. Cir.



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1977) (same). In short, the applicable standard for all of Plaintiff’s claims concern either

knowledge of the injury (for the RICO and state claims), or knowledge of the violation (for the

Wiretapping Claim) and Plaintiff had knowledge of both by June 2017.

                C. The Statutes of Limitations Should Not be Tolled Because Plaintiff Was
                   on Notice of His Claims

         Plaintiff, seemingly aware of his fatal timeliness problem, seeks equitable relief from the

statutes of limitations, by invoking the principle of equitable estoppel. But his request fails

because he was on notice of his claims more than four years ago.

         Equitable estoppel “prevents a defendant from asserting untimeliness where the

defendant has taken active steps to prevent the plaintiff from litigating in time.” Currier v. Radio

Free Eur./Radio Liberty, Inc., 159 F.3d 1363, 1367 (D.C. Cir. 1998) (emphasis removed).

Generally, a “court’s equitable power to toll the statute of limitations will be exercised only in

extraordinary and carefully circumscribed instances.” Mondy v. Sec’y of the Army, 845 F.2d

1051, 1057 (D.C. Cir. 1988). There are none here. Plaintiff was on notice of his injury and his

potential claims against Dechert in 2017 and “[w]hatever the lengths to which a defendant has

gone to conceal the wrongs,” equitable estoppel does not apply “if a plaintiff is on notice of a

potential claim.” Nader, 567 F.3d at 700. “Neither a lack of knowledge of the specific pattern of

fraudulent activity, or an inability to know the particular identities of some of the perpetrators . . .

alters this result.” U.S. ex rel. Miller v. Bill Harbert Int’l Constr., 505 F. Supp. 2d 1, 9 (D.D.C.

2007).

         Plaintiff specifically asserts that he was not aware “of the allegations that Defendant

Dechert was involved in the hacking” until October 15, 2020, when Azima filed a lawsuit against

Defendants Vital and Del Rosso in the Middle District of North Carolina alleging the same

conduct. Compl. ¶ 42; see Complaint, Azima v. Del Rosso, et al., No. 20-cv-954 (M.D.N.C. Oct.

15, 2020), ECF No. 1 (the “North Carolina Proceeding”). But a plaintiff need not know the


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who/what/when/where/why in order for the limitations clock to start. And even taking Plaintiff’s

argument on its own terms, it is a matter of public record that Azima had already publicly filed

an Amended Complaint in the Azima D.C. Proceeding (the “Azima D.C. Complaint”) more than

three years earlier, alleging that Dechert was involved in the use of the hacked materials. See

Amended Complaint, Azima v. RAK Investment Authority, No. 16-cv-1948, ECF No. 28 (D.D.C.

May 16, 2017). Indeed, the Azima D.C. Proceeding was publicized by at least four major news

outlets between 2017 and 2018, 4 such that “even minimal diligence would have revealed the

existence of Plaintiffs’ cause of action.” See In re Lorazepam & Clorazepate Antitrust Litig.,

No. 03-cv-1650, 2004 WL 7081446, at *1 (D.D.C. May 18, 2004) (charging plaintiff with notice

of claims due to earlier, well-publicized lawsuits “based on the same conduct alleged” by

plaintiff).

        In the Azima D.C. Complaint, Azima alleged “the extortive use of the data by RAKIA

and Dechert against Mr. Azima,” Azima D.C. Complaint, ¶ 65, and that “[n]o one other than

RAKIA and Dechert claimed that they had Mr. Azima’s stolen data, used the stolen data, or




4 Jon Gambrell, Jack Gillum & Jeff Horwitz, ‘Worth Killing Over’: How a Plane Mogul Dodged
US Scrutiny, AP NEWS (June 20, 2017), https://apnews.com/article/north-america-ap-top-news-
international-news-politics-iran-80386144f86b4fe5a6986d862875837f; Gardiner Harris & Mark
Landler, Qatar Charm Offensive Appears to Have Paid Off, U.S. Officials Say, N.Y. TIMES
(April 9, 2018), https://www.nytimes.com/2018/04/09/us/politics/qatar-trump-embargo-charm-
offensive.html; Kevin Collier, How Two Persian Gulf Nations Turned The US Media Into Their
Battleground, BUZZFEED NEWS (May 10, 2018),
https://www.buzzfeednews.com/article/kevincollier/qatar-uae-iran-trump-leaks-emails-broidy;
Zach Dorfman, The Mysterious Tale of a Powerful American Businessman, Three Sanctioned
Iranians and an Imprisonment in Tehran, POLITICO (May 27, 2018),
https://www.politico.com/magazine/story/2018/05/27/the-mysterious-tale-of-a-powerful-
american-businessman-an-emirati-sheikhdom-three-sanctioned-iranians-and-an-imprisonment-
in-tehran-218405/.



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threatened Mr. Azima with his hacked data,” id. ¶ 4. 5 In total, “Dechert” appears forty-four

times in Azima’s twenty-eight-page hacking complaint. Id. And while the Azima D.C.

Complaint does not contain the full panoply of allegations Azima later filed against Del Rosso in

the North Carolina Proceeding, again accrual for limitations purposes does not require

“knowledge of all the facts required to support its claim.” Sprint Commc’ns. Co., 76 F.3d at

1228.

        In fact, in the North Carolina Proceeding, the District Court dismissed most of Azima’s

hacking claims against Defendants Del Rosso and Vital on statute of limitations grounds. There,

the Court concluded that Azima’s 2016 D.C. Complaint established that “by 2016 [Azima] had

discovered the conduct underlying” his multiple federal and state causes of action even if he “did

not learn of the role played by Del Rosso and Vital until recently,” because, as here, accrual was

not contingent “on when a plaintiff discovered (or should have discovered) a perpetrator’s role,

but rather when the misappropriation or harm itself was discovered[.]” Azima v. Del Rosso, No.

20-cv-954, 2021 WL 5861282 (M.D.N.C. Dec. 10, 2021), reconsideration denied, 2022 WL

837185 (M.D.N.C. Mar. 21, 2022) (footnote omitted).

        Furthermore, on March 5, 2018—also more than four years before the filing of the instant

Complaint—Plaintiff published the CJR Essay, which addressed at some length the hacking

claims in this lawsuit and his termination from the Journal. 6 In the CJR Essay, Plaintiff made



5 The Court may take judicial notice “of public records and government documents available
from reliable sources.” Al-Aulaqi v. Panetta, 35 F.Supp.3d 56, 67 (D.D.C. 2014); Youkelsone v.
F.D.I.C., 910 F. Supp. 2d 213, 221 (D.D.C. 2012), aff’d, 560 F. App’x 4 (D.C. Cir. 2014).

6 See Quinn Decl., Ex. 1. It is “entirely proper” for the court to take judicial notice of this essay
not “for the truth of [its] assertions, but rather for the fact that [it] contained certain information,
which (true or not) should have put plaintiff on notice of . . . potential claims.” Sandza, 151 F.
Supp. 3d at 113 (citing Washington Post v. Robinson, 935 F.2d 282, 291 (D.C. Cir. 1991)); see
also Nader, 567 F.3d at 701.



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clear he knew about Azima’s D.C. Proceeding and the filings in that lawsuit. See Quinn Decl.,

Ex. 1 at 10 (“Azima quickly countersued RAKIA in a US federal court for allegedly stealing his

data, a charge RAKIA denied.”). Indeed, Plaintiff stated that he had come to believe “Dechert or

Bell Pottinger [a British public relations firm] were the sources” of his emails. Id. at 12. In

short, by his own admission, Plaintiff was aware of his injury and on notice of claims.

        In sum, all of Plaintiff’s claims accrued at the latest when Plaintiff’s employment was

terminated in June 2017, six months after the Journal informed him that his emails with Azima

had been disclosed. Plaintiff’s claims are therefore barred by the applicable statutes of

limitations and should be dismissed. And that dismissal should be with prejudice because any

additional or amended claims would not change the fact of Plaintiff’s knowledge of injury and

notice of claim, and therefore would be futile. See, e.g., Palacios v. MedStar Health, Inc., 298 F.

Supp. 3d 87, 90 (D.D.C. 2018) (“[I]f an amendment would not survive a motion to dismiss—

such as where a claim sought to be added is barred by the statute of limitations—amendment is

futile and should be denied.”).

                                              *****

       Even if Plaintiff’s claims were not time-barred, the Complaint should be dismissed

because it fails to state a claim for any of its causes of action, as set forth more fully below. See

Fed. R. Civ. P. 12(b)(6).

       II.     The Complaint Fails to State a RICO Claim

       Count One asserts a claim for violation of civil RICO pursuant to 18 U.S.C. § 1964(c).

See Compl. ¶¶ 149-66. Plaintiff also seeks treble damages under RICO. Id. ¶ 166. “Because the

mere assertion of a RICO claim has an almost inevitable stigmatizing effect on those named as

defendants, courts should strive to flush out frivolous RICO allegations at an early stage of the

litigation.” J.T. v. de Blasio, 500 F. Supp. 3d 137, 165 (S.D.N.Y. 2020) (quotation marks and



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citation omitted); Wagh v. Metris Direct, Inc., 348 F.3d 1102, 1108 (9th Cir. 2003), overruled on

other grounds by Odom v. Microsoft Corp., 486 F.3d 541 (9th Cir. 2007) (same). This is

particularly true because “plaintiff[s] wielding RICO almost always miss the mark.” Sky

Medical Supply, Inc. v. SCS Support Claims Servs. Inc., 17 F. Supp. 3d 207, 220 (E.D.N.Y.

2014) (citing Gross v. Waywell, 628 F. Supp. 2d 475, 479-83 (S.D.N.Y. 2009) (noting that in a

survey of 145 appellate decisions involving civil RICO actions, plaintiffs achieved victory in

only 3 instances)).

       A violation of § 1962 of the RICO Act consists of four elements: “(1) conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity.” Western Assocs., 235 F.3d at 633

(citations omitted). Plaintiff fails to establish any of the requisite elements of a RICO claim here.

He does not allege a single predicate act, a “pattern” of racketeering activity, the existence of a

RICO enterprise, or a cognizable RICO injury.

               A. The Complaint Fails to Allege Any Racketeering Activity

       In order to establish a “pattern of racketeering activity,” a plaintiff is required to plead at

least two predicate racketeering offenses over a ten-year period. 18 U.S.C. § 1961(5); Western

Assocs., 235 F.3d at 633. Each of the predicate acts must be among the criminal offenses

delineated in the RICO statute itself, 18 U.S.C. § 1961(1) (“Section 1961”). See Western

Assocs., 235 F.3d at 633. In a multi-defendant RICO scheme, “each defendant must have

committed two predicate offenses.” Broidy Cap. Mgmt. LLC, 2020 WL 1536350, at *9 (cleaned

up). Here, Plaintiff fails to adequately allege a single predicate act against any Defendant, let

alone two acts against Dechert.

       Plaintiff’s sprawling complaint obliquely references a number of purportedly unlawful

actions but all without statutory citation or clarity. For example, the Complaint asserts that

Defendants participated “in repeated racketeering and other illegal acts that included, inter alia,



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fraud, human rights abuses, kidnappings, torture, extortion, obstruction of justice, witness

tampering, illegal hacking operations, money laundering and attacks against the free press.”

Compl. ¶ 37. As an initial matter, Section 1961 does not include as cognizable predicates

“human rights abuses,” “torture,” “attacks against the free press,” or, most critically, “illegal

hacking operations.” Therefore, these allegations cannot form the basis of a RICO claim. See,

e.g., Western Assoc., 235 F.3d at 633; Katzman v. Victoria’s Secret Catalogue, 167 F.RD. 649,

655 n.2 (S.D.N.Y 1996) (violations of statutes not listed in Section 1961 “cannot satisfy the

requirement for allegations of RICO predicate acts”) (citing Red Ball Interior Demolition Corp.

v. Palmadessa, 874 F. Supp. 576, 586 (S.D.N.Y. 1995)). To the extent the other labels could in

theory point to cognizable RICO predicates, the alleged facts do not make them out.

                       i.      The Al Sadeq Allegations do not constitute RICO predicates.

        The Complaint references claims of “kidnapping” and “extortion” via the Al Sadeq

Allegations. See Compl. ¶¶ 64-70. These allegations are entirely disconnected from Plaintiff

and his claims. Plaintiff alleges that Al Sadeq was arrested—in what he deems a “kidnapping”—

by RAK State Security Investigations personnel and held in a camp in RAK. Id. ¶ 66. While

Plaintiff does not allege that any Defendant actually took part in the kidnapping, he contends that

Dechert was aware of the conditions in which Al Sadeq was being held, and that Gerrard

interrogated him and “asked him to give false evidence that Mr. Azima was an international arms

dealer.” Id. ¶ 68. For this activity, Plaintiff alleges that Dechert and other Defendants

committed the predicate offenses of kidnapping, obstruction of justice and extortion, for

purposes of his civil RICO claim. Id. ¶¶ 151, 153. However, as forth below, the Al Sadeq

Allegations cannot sustain a RICO predicate because the allegations are impermissibly

extraterritorial.




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        The Al Sadeq Allegations involve actions taken wholly within the UAE and outside the

limited extraterritorial scope of RICO. In R.J.R. Nabisco v. European Cmty., 579 U.S. 325

(2016), the Supreme Court, applying the statutory cannon of the presumption against

extraterritoriality, held that RICO applied only to limited foreign racketeering activity: “A

violation of § 1962 may be based on a pattern of racketeering that includes predicate offenses

committed abroad, provided that each of those offenses violates a predicate statute that is itself

extraterritorial.” Id. at 340 (emphasis added). In other words, to determine whether foreign

conduct can constitute a RICO predicate, the Court must first analyze the specific predicate

statute that is alleged to have been violated and determine whether it has extraterritorial

application. Id.

        While the Complaint here fails to specify what predicate statute(s) were purportedly

violated with respect to the Al Sadeq Allegations, the Complaint vaguely avers “kidnapping,”

“obstruction of justice,” and “extortion.” Compl. ¶¶ 159-61. And as noted above, the only

statutes that can form RICO predicates are those listed in Section 1961. No such statute relating

to the crimes listed by Plaintiff has the extraterritorial reach (or, in the case of obstruction of

justice, application to Plaintiff’s claims) required to sustain Plaintiff’s predicates.

        First, with respect to kidnapping, Section 1961(1) lists as a predicate offense only the

state law crime of kidnapping. The District of Columbia’s kidnapping statute, in turn, is limited

to acts that take place in the District, not those in other states, let alone beyond U.S. borders. See

D.C. Code § 22-2001. This is consistent with the general principle that state criminal laws do

not have extraterritorial effect beyond the borders of the state. See Bigelow v. Virginia, 421 U.S.

809, 827-8 (1973); In re Vasquez, 705 N.E.2d 606, 610 (Mass. 1999) (collecting cases) (“The

general rule, accepted as ‘axiomatic’ by the courts in this country, is that a State may not

prosecute an individual for a crime committed outside its boundaries.”).



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       Second, with respect to obstruction of justice, Section 1961(1) lists 18 U.S.C. § 1503—

the federal obstruction of justice statute—as a predicate. While § 1503 can have extraterritorial

effect, Drummond Co. v. Collingsworth, No. 2:15-cv-506, 2017 WL 3268907, at *17 (N.D. Ala.

2017), it, by its express terms, applies only to obstruction of proceedings in a “court of the

United States.” See 18 U.S.C. § 1503(a). Plaintiff nowhere alleges that Al Sadeq’s “false

testimony” was elicited for use in a U.S. court. See, e.g., Compl. ¶ 67.

       Third, with respect to “extortion,” Section 1961(1) lists both state and Hobbs Act

extortion pursuant to 18 U.S.C. § 1951. Again, the District of Columbia’s criminal prohibition

on extortion, D.C. Code § 22-3251, does not reach beyond the territory of the District. See, e.g.,

In re Vasquez, 705 N.E.2d at 610. And this Court has repeatedly held that Hobbs Act extortion

does not apply extraterritorially, including in the RICO context. See Hourani v. Mirtchev, 943 F.

Supp. 2d 159, 168 (D.D.C. 2013) (“In sum, the predicate acts that proximately caused Plaintiffs’

injury—namely, the extortion in Kazakhstan by a Kazakh actor of Plaintiffs’ Kazakhstan-based

assets—were squarely extraterritorial and therefore outside RICO’s reach.” (emphasis in

original)); United States v. All Assets Held at Bank Julius, 251 F. Supp. 3d 82, 101 (D.D.C.

2017), motion for reconsideration granted on other grounds, 315 F. Supp. 3d 90 (D.D.C. 2018).

The claim for extortion also fails because extortion claims require the “wrongful taking of

property.” See Scheidler v. Nat’l Org. for Women, Inc., 537 U.S. 393, 404 (2003) (cleaned up).

Plaintiff half-heartedly alleges that “[t]he false testimony was a thing of value in that it affected

the legal rights surrounding property and claims to power,” Compl. ¶ 160, but—even if this

novel expansion of basic property concepts made sense—mere interference with the use of

property is not enough; a plaintiff must establish actual deprivation and acquisition of the

property. Scheidler, 537 U.S. at 404-05. Plaintiff fails to do so here.




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       In short, none of the foreign activity alleged in the Al Sadeq Allegations violates any of

the RICO predicates listed in Section 1961(1) because none of the relevant statutes has the

requisite extraterritorial reach. See R.J.R. Nabisco, 579 U.S. at 340.

                       ii.    The Hack-and-Reveal Allegations do not constitute RICO
                              predicates.

       Plaintiff alleges that, through a coordinated effort, Defendants “lure[d] Mr. Azima into

providing his login data” and uploaded unauthorized copies of Azima’s data (including the

improper emails with Solomon) onto the internet as encrypted files. Compl. ¶¶ 79-80. The

Complaint makes no allegations as to how the Associated Press ultimately received the emails.

       Critically, however, hacking, using or disclosing unauthorized data are not predicates

under Section 1961. Thus, Plaintiff attempts to repackage these allegations as wire fraud, id.

¶ 152 and money laundering, id. ¶ 154. Neither theory works.

       An allegation of wire fraud requires pleading “(1) a scheme to defraud; and (2) the use of

an interstate wire communication to further the scheme.” United States v. Maxwell, 920 F.2d

1028, 1035 (D.C. Cir. 1990); Ctr. for Immigr. Stud. v. Cohen, 410 F. Supp. 3d 183, 189 (D.D.C.

2019). Plaintiff fails to allege any of the elements of the offense; merely labelling hacking “wire

fraud” does not make it so. To the contrary, the D.C. Circuit has admonished that “RICO claims

premised on mail or wire fraud must be particularly scrutinized because of the relative ease with

which a plaintiff may mold a RICO pattern from allegations that, upon closer scrutiny, do not

support it.” Western Assocs., 235 F.3d at 637. Moreover, claims for wire fraud as RICO

predicates require plaintiffs to meet the heightened pleading standards under Fed. R. Civ. P. 9(b).

Cheeks v. Fort Myer Constr. Co., 216 F. Supp. 3d 146, 157 (D.D.C. 2016) (citing Sandza v.

Barclays Bank PLC, 151 F. Supp. 3d 94, 108 (D.D.C. 2015)). This requires that the plaintiff

“state the time, place and content of the false misrepresentations, the fact misrepresented, and

what was retained or given up as a consequence of the fraud.” Id. (quoting Sandza, 151 F. Supp.


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3d at 108). Plaintiff must allege “which defendant caused what to be . . . transmitted by wire . . .

as well as specifically when and how each mailing or transmission . . . furthered the fraudulent

scheme.” Bates v. Northwestern Human Servs., Inc., 466 F. Supp. 2d 69, 89-90 (D.D.C. 2006)

(citing Gotham Print, Inc. v. Am. Speedy Printing Ctrs., Inc., 863 F. Supp. 447, 458 (E.D. Mich.

1994)).

          Plaintiff comes nowhere close to meeting these heightened requirements. He alleges only

that “the Defendants and/or their Cohorts committed more wire fraud by illegally hacking into

the email accounts of Mr. Azima and using and disclosing the stolen emails to discredit and

attempt to silence Azima and his associates.” Compl. ¶ 152. Despite the use of the word

“more,” this is actually the only allegation of wire fraud in the entire Complaint. And while

elsewhere Plaintiff vaguely alleges that an entity called CyberRoot “gained access to Mr.

Azima’s computers and accounts through phishing and spear-phishing emails,” id. ¶ 80, he does

not allege the “time, place and content of the false misrepresentations, the fact misrepresented,

and what was retained or given up as a consequence of the fraud.” Bates, 466 F. Supp. 2d at 89

(citing Intex Recreation Corp. v. Team Worldwide Corp., 390 F. Supp. 2d 21, 24 (D.D.C. 2005))

(rejecting mail and wire fraud predicates where plaintiff “failed to specify in their complaint

what fraudulent statements were made and in what context, when they were made, who made

them, and the manner in which the statements were misleading”). Nor does Plaintiff make any

allegation that Dechert was involved in any purported wire fraud, rather than the vague

allegation against “Defendants and/or their Cohorts.” See, e.g., Toumazou v. Turkish Republic of

N. Cyprus, 71 F. Supp. 3d 7, 21 (D.D.C. 2014) (“Generally, a plaintiff cannot satisfy the

minimum pleading requirements under Rule 8 of the Federal Rules of Civil Procedure by

lumping all the defendants together in each claim and providing no factual basis to distinguish

their conduct.”). Finally, Plaintiff makes no allegation that anything of Plaintiff’s was an “object



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of the fraud.” Kelly v. United States, 140 S. Ct. 1565, 1573 (2020) (noting it is not fraud “when

the loss to the victim is only an incidental byproduct of the scheme”).

       With respect to money laundering, Plaintiff merely recites the elements of money

laundering pursuant to 18 U.S.C. § 1956(a)(2)(A). See Compl. ¶ 154. But of course, “threadbare

recitals of a cause of action’s elements, supported by mere conclusory statements” do not suffice.

Ashcroft, 556 U.S. at 663; see also, e.g., Republic of Kazakhstan v. Stati, 380 F. Supp. 3d 55, 62

n.6 (D.D.C. 2019) (rejecting claim for money laundering as a RICO predicate where Plaintiff

merely recited the elements of the statute). Furthermore, claims of money laundering require

alleging the specific “unlawful activity” the transfer of funds was meant to promote, and Plaintiff

fails to plead any such allegations. See Republic of Kazakhstan, 380 F. Supp. 3d at 62 n.6; 18

U.S.C. § 1956(a)(7). To the extent Plaintiff implicitly relies on the other alleged predicates

asserted in the Complaint as the specified “unlawful activity,” the money laundering claim fails

for the same reason Plaintiff’s other alleged predicates fail. See id.; Lefkowitz v. Reissman, No.

12 Civ. 8703, 2014 WL 925410, at *6 (S.D.N.Y. Mar. 7, 2014) (where plaintiff failed to plead

mail or wire fraud, money laundering allegation could not support RICO claim as well). Indeed,

Plaintiff all but admits as much when, rather than attempting to defend his allegations, he instead

purports to adopt an exhibit attached to a complaint filed by Azima in a separate litigation filed in

the Southern District of New York that makes money laundering claims. See Compl. ¶ 154

(citing Azima et al. v. Dechert LLP, et al., No. 22-cv-8729 (S.D.N.Y. Nov 11, 2022), ECF No.1,

Ex. A. Of course, there is no legal principle that allows a plaintiff to bypass its pleading failures

by simply pointing to the allegations of a different complaint by a different person. To the

contrary, “[t]he factual allegations within a complaint . . . must be sufficient to state a claim to

relief that is plausible on its face.” Smith v. Wright, No. 20-3389, 2021 WL 5906040, at *3

(D.D.C. Dec. 14, 2021) (emphasis added) (citing Twombly, 550 U.S. at 570).



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                       iii.    The Cover-Up Allegations do not constitute RICO predicates.

       As outlined above, the Complaint also alleges a series of activities purportedly designed

to cover up the hacking of Azima’s emails. Compl. ¶¶ 102-34. This includes allegations of

laying a “false ‘paper trail’ of discovery,” id. ¶ 124, multiple meetings in Cyprus, id. ¶¶ 112-13,

and a “mock trial” to prepare false testimony in Switzerland. Id. ¶¶ 117-21. Per the Complaint,

all of these “meetings, correspondence, and testimony were part of a broader scheme to conceal

the enterprise’s illegal acts.” Id. ¶ 126. Plaintiff argues that this activity constituted “witness

tampering and obstruction of justice.” Id. ¶ 153. But it is well-settled that alleged acts to

conceal unlawful activity are not cognizable as RICO predicates.

       This issue was squarely addressed in Democratic National Committee v. Russian

Federation, 392 F. Supp. 3d 410 (S.D.N.Y. 2019), where the plaintiff alleged that an “enterprise”

hacked and released its emails, and later took steps to cover up the hacking, “through criminal

obstruction of justice and witness tampering.” Id. at 424. The court dismissed the RICO claim

on several grounds. Id. at 443-44. With respect to the cover-up allegations in particular, the

court held that they were not cognizable predicates because “acts of concealment after the central

objections of the conspiracy have been attained, for the purpose of covering up the after the

crime, are not considered part of the conspiracy.” Id. at 444 (cleaned up) (quoting Grunewald v.

United States, 353 U.S. 391, 405 (1957)). The court concluded that “the alleged acts of

concealment were all done allegedly to cover defendants’ tracks after the goal of the alleged

conspiracy had been attained. Therefore, they cannot be found to be predicate acts for the

purposes of the . . . RICO Claim.” Id. (citing Browning v. Flexsteel Indus., Inc., 955 F. Supp. 2d

900, 919 (N.D. Ind. 2013)). This Court too has applied the same principle in the RICO context.

See Pyramid Sec. Ltd. v. IB Resol., Inc., 924 F.2d 1114, 1118 (D.D.C. 1991) (attempt to

“extend[] the conspiracy” by alleging enterprise “conceal[ed] its knowledge of” substantive acts



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failed because “[a]fter-the-fact concealment indicates nothing more than that the conspirators do

not wish to be apprehended” (cleaned up) (citing Grunewald, 353 U.S. at 405)); see also

Cockrum v. Donald J. Trump for President, Inc., 319 F. Supp. 3d 158, 182 (D.D.C. 2018).

       Plaintiff presses exactly the same theory here: that after the hacking, the enterprise

engaged in “witness tampering and obstruction of justice by conducting several private meetings

at which the enterprise members conspired and coordinated false testimony as to fraudulently

conceal how the Defendants and/or their Cohorts came into possession of the stolen

communications.” Compl. ¶ 153 (emphasis added). This conduct, “done allegedly to cover the

defendants’ tracks,” cannot support the RICO claim as a matter of law. Democratic Nat’l

Comm., 392 F. Supp. 3d at 443-44.

       The Cover Up Allegations fail to make out a civil RICO claim for additional reasons.

First, nearly all of the alleged conduct purportedly obstructed or interfered with the U.K.

Proceeding, rather than a U.S. one. See Compl. ¶¶ 114-31 (describing the preparation and filing

of false witness statements and other false testimony given in the U.K. Proceeding). As noted

above, obstruction of justice applies to only proceedings in U.S. courts, see 18 U.S.C. § 1503(a),

and the same is true for the witness tampering statute. See 18 U.S.C. § 1515(a)(1) (defining

“official proceeding.”). In litigation related to this case, the Second Circuit has already rejected

virtually identical RICO claims for this exact reason. See El Omari v. Buchanan, No. 22-55-cv,

2022 WL 4454536, at *2 (2d Cir. Sept. 26, 2022) (affirming dismissal of witness tampering

claims because it “addresses potential misconduct only in foreign proceedings and investigations

conducted by RAK”).

       The Complaint’s only alleged conduct directed at U.S. proceedings are three purportedly

false statements made in briefs or other filings in the Azima D.C. Proceeding. Compl. ¶ 111.

However, courts have repeatedly held that allegations of “false statements in their various



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filings . . . cannot support a claim of a substantive RICO violation.” Butcher v. Wendt, 975 F.3d

236, 241 (2d Cir. 2020) (citing Kim v. Kimm, 884 F.3d 98, 104 (2d Cir. 2018)); see also Republic

of Kazakhstan, 380 F. Supp. 3d at 61 (noting that “[n]umerous other circuit courts and district

courts across the country have concluded that wrongful litigation activities cannot serve as RICO

predicate acts”).

       In short, Plaintiff has failed to adequately allege a single predicate act.

               B. The Complaint Does Not Allege a “Pattern” of Racketeering Activity

       The RICO claim should also be dismissed because, even beyond failing to plead a single

cognizable predicate, the Complaint does not allege a “pattern” of racketeering activity. To form

a “pattern,” predicate acts must be both related and continuous. Adler v. Loyd, 496 F. Supp. 3d.

269, 279 (D.D.C. 2020) (citing H.J. Inc. v. N.W. Bell Tel. Co., 492 U.S. 229, 239 (1989)). With

respect to the continuity requirement, it must be “shown that the predicates themselves amount

to, or that they otherwise constitute, a threat of, continuing racketeering activity.” Id. (emphasis

in original). Continuity is “both a closed- and open-ended concept, referring either to a closed

period of repeated conduct, or to past conduct that by its nature projects into the future with a

threat of repetition.” Id. Plaintiff alleges neither concept here.

                       i.      The Complaint does not allege an open-ended scheme.

       An open-ended scheme requires “far more than a hypothetical possibility of further

predicate acts.” Pyramid Sec. Ltd., 924 F.2d at 1119. Rather, to plead an open-ended scheme, “a

complaint must plausibly allege a ‘distinct’ threat of further long-term racketeering activity or a

‘showing that the predicate acts or offenses are part of an ongoing entity’s regular way of doing

business.” Broidy Cap. Mgmt., 2020 WL 1536350, at *9 (quoting H.J. Inc., 492 U.S. at 242).

The Complaint here fails to do either.




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         To the contrary, the Complaint alleges a hack that occurred more than six years ago, and

fails to even suggest the “hypothetical possibility of further predicate acts,” which would still be

insufficient. Pyramid Sec. Ltd., 924 F.2d at 1119. The most recent predicate act alleged in the

Complaint occurred over three years ago. Compl. ¶ 143 (alleging false testimony in January

2020). Indeed, the Complaint does not allege that the purported “enterprise” even continues to

exist.

         In Broidy, the plaintiff alleged that Qatari agents hacked his computers and disseminated

the hacked information to the media in retaliation for the plaintiff’s anti-Qatari advocacy. Broidy

Cap. Mgmt., 2020 WL 1536350, at *1. The Court dismissed the plaintiff’s RICO claim in part

because the plaintiff failed to allege open-ended continuity; the Court held that “[t]he alleged

hacking already has happened, and the stories that were meant to silence Broidy already have

been published. A ‘one time racket’ like this one is not an open-ended scheme.” Id. at *9 (citing

Hughes v. Consol-Pa. Coal. Co., 945 F.2d 594, 610-11 (3d Cir. 1991)). Any open-ended scheme

theory here fails for the same reason.

                        ii.    The Complaint does not allege a close-ended scheme.

         A close-ended scheme is backward-facing and requires the plaintiff to plead “a series of

related predicates extending over a substantial period of time.” H.J. Inc., 492 U.S. at 230. The

D.C. Circuit has outlined six factors that are relevant in determining the existence of a close-

ended pattern of racketeering: “the number of unlawful acts, the length of time over which the

acts were committed, the similarity of the acts, the number of victims, the number of

perpetrators, and the character of the unlawful activity.” Republic of Kazakhstan, 380 F.3d at 63

(citing Edmondson & Gallagher v. Alban Towers Tenants Ass’n, 48 F.3d 1260, 1265 (D.C. Cir.

1995)). In applying this framework, courts have repeatedly held that “when a plaintiff merely

alleges a ‘single scheme, single injury, and few victims,’ it is ‘virtually impossible for plaintiffs



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to state a RICO claim.’” Id. at 64 (quoting Edmondson, 48 F.3d at 1265) (rejecting RICO claim

where “various stages to th[e] alleged scheme” were all aimed at accomplishing a “single

discrete goal” of artificially inflating the value of a gas plant to enrich defendants). It is the

nature of the alleged conduct—and not the number of purportedly different predicate acts—that

determines whether a closed-ended scheme has been alleged. See Adler, 469 F. Supp. 3d at 280

(though plaintiff alleged twelve predicate acts, the acts “constitute a single scheme, not multiple

schemes, because they were similar in nature and purpose”); see also Western Assocs., 235 F.3d

at 635 (affirming dismissal RICO claim where defendant’s “conduct is more accurately

characterized as a single effort to diminish the value of Western’s partnership interest”).

        Again, Broidy is on point. In Broidy, the Court held that the alleged hack-and-release

was a “single scheme to retaliate against, discredit, and ultimately silence Mr. Broidy by

manufacturing negative news stories and exposing his confidential communications and trade

secrets to the public. That is not enough to support a pattern of racketeering activity.” 2020 WL

1536350 at *10. The Court noted that the scheme had “at most a few victims,” which was

insufficient for a close-ended scheme, even if the complaint “allude[d] to other victims.” Id.

        Here, the Complaint similarly alleges a single scheme targeted at Azima and indirectly

harming Plaintiff. See, e.g., Compl. ¶¶ 13, 72. To the extent Plaintiff attempts to allege multiple

incidents of hacking, they “constitute[d] a single scheme . . . because they were similar in nature

and purpose.” Adler, 496 F. Supp. 3d at 280. Even if the Court included the Al Sadeq

Allegations—which, as outlined above, it should not—the alleged pressure to elicit false

testimony from Al Sadeq was still part of the same purported scheme. See Compl. ¶ 64

(describing efforts to elicit false testimony that “Mr. Azima and his alleged co-

conspirators . . . committed acts of fraud against RAKIA”). This single alleged scheme to




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“target” Azima, with at most a “few victims,” does not meet the pleading requirements for a

RICO claim. Western Assocs., 235 F.3d at 634.

         Because Plaintiff failed to plead a continuous “pattern of racketeering,” his RICO claim

fails.

                C. The Complaint Does Not Allege the Existence of an “Enterprise”

         “[O]ne of the essential elements of a RICO violation is the existence of an ‘enterprise.’”

Watson v. Norris, No. 89-0625, 1991 WL 7165, at *2 (D.D.C. Jan. 11, 1991). An enterprise “is

proved by evidence of an ongoing organization, formal or informal, and by evidence that the

various associates function as a continuing unit.” United States v. Turkette, 452 U.S. 576, 583

(1981). While an “association-in-fact” can be sufficient to satisfy the enterprise element, the

association must be “an entity separate and apart from the pattern of racketeering activity in

which it engages.” Watson v, 1991 WL 7165, at *2 (emphasis in original).

         As a preliminary matter, the Complaint never identifies the composition of the purported

enterprise. See Scheck v. Gen. Elec. Corp., No. 91-1594, 1992 WL 13219, at *3 (D.D.C. Jan. 7,

1992) (“To plead a RICO claim, plaintiff must identify and specifically describe the alleged

enterprise.”). Rather, the Complaint refers to the Defendants and an unidentified group of

“Cohorts,” who vaguely consist of “co-conspirators and fellow participants in a racketeering

enterprise.” Compl. ¶ 14. This sort of “moving target” is insufficient and is itself fatal to

Plaintiff’s RICO claim. See Doe I v. State of Israel, 400 F. Supp. 2d 86, 119 (D.D.C. 2005)

(where plaintiff at times identified different groups as “the enterprise,” he fails to establish a

RICO enterprise); Confederate Mem’l Ass’n, Inc. v. Hines¸995 F.2d 295, 399-400 (D.C. Cir.

1993).

         In all events, whether the Cohorts are included or not, the Complaint fails to identify a

legally cognizable “enterprise” apart from the purported racketeering. At best, the Complaint



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alleges that a group of persons and entities came together around an effort to target and discredit

Azima. See id. ¶¶ 64-70 (“extorting” Al Sadeq to elicit false testimony that Azima engaged in

fraud); ¶¶ 71-94 (hacking Azima); ¶¶ 95-101 (providing Plaintiff’s emails to his employer based

on connections to Azima); ¶¶ 102-34 (efforts to cover-up previously-described activity). In other

words, Plaintiff fails to plead anything that “indicates that this association-in-fact was in any way

separate from the [alleged] pattern of racketeering activity.” Watson, 1991 WL 7165, at *2;

Wright v. Towns, No. 90-0565, 1991 WL 100388, at *4 (D.D.C. May 30, 1991) (“Where the

enterprise alleged has only one straightforward goal, the alleged wrongdoing, such an association

is not sufficiently continuing to constitute an enterprise.” (cleaned up)); see also Democratic

Nat’l Comm., 392 F. Supp. 3d at 440 (entities alleged to have hacked plaintiff did not form an

“enterprise” for RICO purposes; a “plaintiff may not simply string together various defendants

and label them an enterprise”). Because Plaintiff fails to allege an enterprise distinct from the

alleged pattern of racketeering, his RICO claim should be dismissed.

               D. The Complaint Does Not Allege an Injury Proximately Caused by RICO
                  Violations

       In order to state a RICO claim, a plaintiff “must show that the RICO predicate offense

was not only the ‘but for’ cause of the injury, but the proximate cause as well.” Greenpeace Inc.,

808 F. Supp. 2d at 269 (citing Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992)). This

includes at least three distinct requirements. First, proximate cause requires some “direct

relation between the injury asserted and the injurious conduct alleged.” Holmes, 503 U.S. at 268.

“A link that is too remote, purely contingent, or indirect is insufficient.” Hemi Grp., LLC, 559

U.S. at 9-10. Second, not any alleged misconduct will do. The injury must flow from the

alleged predicate acts supporting the RICO claim. Greenpeace, Inc., 808 F. Supp. 2d at 269

(dismissing RICO claim where plaintiff’s injuries “in fact stem from underlying violations of

District of Columbia law that do not constitute racketeering activity for the purposes of


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§ 1962(c)”); see also Hollander v. Flash Dancers Topless Club, 340 F. Supp. 2d 453, 459

(S.D.N.Y. 2004). And third, proximate causation “demands that the plaintiff be the ‘intended

target’ of the RICO violation.” Meng v. Schwartz, 116 F. Supp. 2d 92, 96 (D.D.C. 2000)

(cleaned up). Thus, even if directly traceable to cognizable predicates, incidental harm to a non-

target is insufficient. See also Weaver v. Bratt, 421 F. Supp. 2d 25, 37 (D.D.C. 2006)

(dismissing RICO claim because “plaintiff was not the intended target of the alleged predicate

acts”).

          First, the Complaint fails to allege that any of Plaintiff’s injuries were caused by

predicate acts, as opposed to by intervening acts. Specifically, the Complaint alleges that

Defendants:

               (1) engag[ed] several firms to hack, dump and retrieve Mr. Azima’s email
               account; (2) deliver[ed] or caus[ed] to [be] deliver[ed] a dossier of stolen
               emails to Mr. Solomon’s employer and other media outlets that painted an
               unfair and wrong impression of Mr. Solomon and Mr. Azima’s relationship;
               [and] (3) after Mr. Solomon’s employer investigated the emails and chose
               not to terminate his employment relationship, deliver[ed] or caus[ed] to be
               delivered the same dossier of stolen emails to several media outlets, which
               resulted in the publication of the stolen emails and forced Mr. Solomon’s
               employer to terminate his employment relationship in a public and
               humiliating manner.

Compl. ¶ 205. What is missing, of course, is any suggestion that the emails that were reviewed

by his employer and by other media outlets were doctored or inauthentic. Accordingly, the only

reasonable inference is that ultimately Plaintiff was fired because of the content of his own

emails. And while the Complaint tries to plead around that inescapable reality, it does so, even

in the carefully crafted paragraph quoted above, primarily by pointing to the conduct of others.

Indeed, even beyond the independent actions of his own employer—a sophisticated entity that

conducted its own analysis of Plaintiff’s emails—the Complaint alleges that the actions of a

fourth-party media outlet (the Associated Press) allegedly “forced” his employer to terminate his

job. Compl. ¶ 205.


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       Thus, the Complaint alleges a theory of liability that impermissibly “rests on the

independent actions of third and even fourth parties.” Hemi Grp., 559 U.S. at 15; see Sheridan v.

Mariuz, No. 07 Civ. 3313, 2009 WL 920431, at *7 (S.D.N.Y. Apr. 6, 2009) (noting that the

Supreme Court has “explained that compensable RICO damages must flow directly from the

commission of the predicate RICO acts themselves and cannot be the result of an intermediary’s

actions that may have be[en] induced or caused by the alleged RICO activity) (citing Anza v.

Ideal Steel Supply Corp., 547 U.S. 451, 459 (2006)). At least two “independent actions”

accounted for Plaintiff’s alleged injuries, i.e., the Associated Press’ decision to publish a story

and The Wall Street Journal’s decision to terminate him. Hemi Grp., LLC, 559 U.S. at 15.

Indeed, even without the Associated Press’ reporting, the independent actions of an employer

alone generally create too much attenuation to sustain a RICO claim. See Casper v. Paine

Webber Grp., Inc., 787 F. Supp. 1480, 1495 (D.N.J. 1992) (noting that “cases are legion which

hold that a plaintiff, in a suit against the plaintiff’s former employer, does not have standing to

sue for a violation of [RICO] where the plaintiff’s injury consists of termination from his job for

‘blowing the whistle’ on or for failure to cooperate with his employer’s racketeering activity”);

Nodine v. Textron, 819 F.2d 347, 349 (1st Cir. 1987) (plaintiff was not injured by predicate

offenses but instead by “Textron’s decision to fire him”).

       Second, Plaintiff does not allege that he was even indirectly harmed by any predicate acts

specified in Section 1961, rather than the purported “hack and dump.” See Compl. ¶ 175;

Greenpeace, Inc., 808 F. Supp. 2d at 269 (injury must be caused by a predicate act listed in

Section 1961). As noted above, hacking, or even releasing hacked materials, are not predicate

acts listed in Section 1961. See supra Section II.A.ii; Saunders v. Davis, No. 15-cv-2026, 2016

WL 4921418, at *4 n.6 (D.D.C. Sept. 15, 2016) (“The Court notes that 18 U.S.C. § 1030 [the

Computer Fraud and Abuse Act] is not a predicate offense for purposes of RICO.”).



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       Third, Plaintiff’s RICO claims fail because he was not the “intended target” of any RICO

predicate offense. Weaver, 421 F. Supp. 2d at 37. Again, neither hacking nor the disclosure of

hacked materials are RICO predicates, and Plaintiff certainly was not the target of the

kidnapping, extortion, and other unlawful behavior alleged in the Al Sadeq Allegations. See

Compl. ¶¶ 64-70. Instead, Plaintiff relies on purported wire fraud committed against Azima. See

Compl. ¶ 152 (alleging that Defendants committed wire fraud “by illegally hacking into the

email accounts of Mr. Azima and using and disclosing the stolen emails to discredit and attempt

to silence Mr. Azima and his associates, including in particular Mr. Solomon”). Plaintiff does

not, and cannot, claim that the alleged wire fraud was targeted at him. Nor does he allege that

any Defendants were aware that Azima’s emails would contain communications with Plaintiff—

let alone emails that would evince behavior sufficient to lead to the termination of Plaintiff’s

employment. As Plaintiff was not the intended target of any alleged RICO predicate act, he

cannot establish proximate causation. Meng, 116 F. Supp. 2d at 96 (dismissing claim where

RICO violations were aimed at other parties); J.T., 500 F. Supp. 3d at 166 (“Simply put, a RICO

plaintiff cannot establish standing if the alleged injury is the derivative result of a fraudulent

scheme that targets another victim.”).

       Finally, any alleged injury subsequent to Plaintiff’s termination is even more attenuated

from the alleged predicate acts. For example, “the relationship between any evaporation of

interest in [Plaintiff’s] book” and Defendant’s alleged actions is “too remote” to sustain a RICO

claim. Browning v. Clinton, 292 F.3d 235, 249 (D.C. Cir. 2002). Nor does he sufficiently tie his

“mental anguish” and “emotional distress” to any actions of the Defendants. Simply put, all of

Plaintiff’s injuries are “too remote, purely contingent, or indirect” to sustain a RICO claim.

Hemi Grp., LLC, 559 U.S. at 9.




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               E. The Complaint Alleges Non-Actionable Injuries

       Plaintiff’s RICO claims likewise fail because the nature of his injuries—being fired by

his employer and suffering “distress” as a result—are not the sorts of injuries that confer RICO

standing.

       As an initial matter, courts routinely reject loss of employment as the basis for RICO

injury because, as described above, the nature of that sort of loss makes clear that the employer

decision (rather than a RICO predicate) was the cause. See also Anderson v. Ayling, 396 F.3d

265, 270-71 (3d Cir. 2005) (“job loss” is an injury “that has been found not normally to create

RICO standing.”). Indeed, several courts have additionally held that loss of employment does

not constitute an injury to “business or property” sufficient to confer RICO standing. See

Dunleavy v. Wayne Cty. Comm’n, No. 04-cv-74670, 2006 WL 8431836, at *2 (E.D. Mich. May

11, 2006) (analyzing cases; concluding that “[i]f Congress had meant to confer standing on any

person who has suffered any type of financial injury, including the loss of employment or the

loss of an employment opportunity, it could have said so”); Reynolds v. Condon, 908 F. Supp.

1494, 1518 (N.D. Iowa 1995) (“Thus it appears that mere injuries to employment or income from

employment are not RICO injuries.”); but see Mruz v. Caring, Inc., 991 F. Supp. 701, 711-12

(D.N.J. 1998) (job loss is injury to business or property).

       Plaintiff’s other purported injuries are even farther outside the narrow category of injuries

to “business or property” that can convey standing under RICO. Plaintiff alleges that he suffered

embarrassment and damages to his reputation, including being “blackballed” in the “journalistic

and publishing community, and has seen current and future book publishing contracts

“devalue[ed].” Compl. ¶ 18. He also alleges that he has suffered “severe emotional harm” and

“emotional distress, mental grieving, [and] pain and suffering. Id. ¶¶ 165, 206. He provides no

dollar figures for any of the purported injuries, but demands that the theoretical numbers all be



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trebled. Id. ¶ 166. None of this sufficiently alleges damage to “business or property,” a

requirement to establish RICO standing. 18 U.S.C. § 1964(c). Indeed, to have standing,

Plaintiffs must plead a “concrete financial loss” which is “not easily met.” World Wrestling Ent.,

Inc. v. Jakks Pac., Inc., 530 F. Supp. 2d 486, 521 (S.D.N.Y. 2007), aff’d, 328 F. App’x 695 (2d

Cir. 2009). The alleged harm must be tied to “an ascertainable, calculable value.” E. Sav. Bank,

FSB v. Papageorge, 31 F. Supp. 3d 1, 15 (D.D.C. 2014) (citation omitted). Plaintiff does not

meet that bar.

        It is well-settled that “[a]llegations of personal injury do not suffice” to demonstrate

injury to “business or property.” Klayman v. Obama, 125 F. Supp. 3d 67, 88 (D.D.C. 2015)

(citing Ibrahim v. Titan Corp., 391 F. Supp. 2d 10, 19 (D.D.C. 2005)); Burnett v. Al Baraka Inv.

and Dev. Corp., 274 F. Supp. 2d 86, 101 (D.D.C. 2003). This includes claims for mental

anguish or emotional distress. Pohlot v. Pohlot, 664 F. Supp. 112, 116 (S.D.N.Y. 1987) (“The

courts have uniformly held that personal injuries and emotional distress do not come within

RICO.”). Pecuniary losses that flow from personal injuries also cannot confer RICO standing.

Burnett, 274 F. Supp. 2d at 100-02; see also Doe v. Roe, 958 F.2d 763, 767 (7th Cir. 1992)

(RICO “preclude[s] recovery for personal injuries and the pecuniary losses incurred therefrom.”

(emphasis added)). “[G]eneralized reputational harms” likewise will not suffice. Kimm v.

Chang Hoon Lee & Champ, Inc., 196 F. App’x 14, 16 (2d Cir. 2006). And allegations of lost

future profits—including from book deals—cannot sustain a RICO claim because they are “too

remote.” Browning, 292 F.3d at 249 (holding alleged lost profits on a potential book deal did not

plead RICO injury because it was “too remote”); Petroff Amshen LLP v. Alfa Rehab PT PC., No.

21-847, 2022 WL 480475, at *2 (2d Cir. Feb. 17, 2022).




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       In sum, Plaintiff fails to adequately establish any of the requisite elements of a civil

RICO claim, including a single predicate act, a pattern of racketeering, an enterprise, or a

proximately-caused, cognizable injury to his business or property.

       III.    The Complaint Does Not State a Claim Under the Federal Wiretap Act

       Plaintiff’s second and third causes of action are brought pursuant to the Electronic

Communications Privacy Act of 1994, or the “Federal Wiretap Act,” 18 U.S.C. §§ 2511(1) and

2520, for alleged disclosure (Count II) and use (Count III) of “information [that] was improperly

and illegally obtained through interception” (the “Federal Wiretap Claims”). Compl. ¶ 168. As

described above, Plaintiff alleges that “Dechert and Mr. Gerrard used CyberRoot (via Defendants

Mr. Del Rosso and Vital) to hack Mr. Azima’s emails and to intentionally disclose large

quantities of Mr. Azima’s intercepted data, which included communications with Mr. Solomon,

by instructing that the data be posted on BitTorrent and WeTransfer.” Id. ¶ 169.

       The Federal Wiretap Act prohibits the intentional “intercept[ion] . . . [of] any wire, oral,

or electronic communication.” 18 U.S.C. § 2511(1). Courts have universally held that the

“interception” of a communication “must be contemporaneous with the communication’s

transmission.” McPherson, 2021 WL 1820290, at *10; see Fraser v. Nationwide Mut. Ins. Co.,

352 F.3d 107, 113 (3d Cir. 2003), as amended (Jan. 20, 2004) (“Every circuit court to have

considered the matter has held that an ‘intercept’ under the [Act] must occur contemporaneously

with transmission.”); Luis v. Zang, 833 F.3d 619, 627 (6th Cir. 2016); United States v. Steiger,

318 F.3d 1039, 1048 (11th Cir. 2003). Applying this principle, numerous courts have held that

the seizure of emails stored on a server is not an “interception” under the statute. McPherson,

2021 WL 1820290, at *10 (retrieving Facebook messages after transmission was completed “did

not contemporaneously intercept them”); Kinchen v. St. John’s Univ., Nos. 17-cv-3244, 17-cv-

4409, 2019 WL 1386743, at *11 (E.D.N.Y. Mar. 26, 2019) (alleged phishing and subsequent



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“surveill[ance]” of emails did not plead contemporaneous interception); see also Bailey v. Bailey,

No. 07-cv-11672, 2008 U.S. Dist. LEXIS 8565, at *12 (E.D. Mich. 2008) (finding Wiretap Act

did not apply where ex-husband used key logger to access his then wife’s emails); Miller v.

Meyers, 766 F. Supp. 2d 919, 924 (W.D. Ark. 2011).

       For the same reasons, Plaintiff’s claims under the Federal Wiretap Act fail. The

Complaint alleges that Defendants “obtained emails stolen from Mr. Azima’s account by” a

phishing hack. Compl. ¶ 165. But it does not allege—as it must—any contemporaneous

interception of electronic communications. See, e.g., Bunnell v. Motion Picture Ass’n of Am.,

567 F. Supp. 2d 1148, 1153 (C.D. Cal. 2007) (configuring email server so that all of plaintiff’s

messages were copied and forwarded was not contemporaneous interception because the emails

were still in “electronic storage”); Bailey, 2008 U.S. Dist. LEXIS 8565, at *12. As a matter of

law, the Federal Wiretap Claims must therefore be dismissed.

       Plaintiff’s Federal Wiretap Claims fail for the additional reason that the Federal Wiretap

Act does not apply extraterritorially. See, e.g., Huff v. Spaw, 794 F.3d 543, 547 (6th Cir. 2015);

United States v. Maturo, 982 F.2d 57, 60 (2d Cir. 1992); Zheng v. Yahoo! Inc., No. C-08-1068,

2009 WL 4430297, at *3-4 (N.D. Cal. Dec. 2, 2009). The “relevant location” in determining

extraterritoriality under the Federal Wiretap Act “is not the location or nationality of any person

whose voice might have been intercepted; it is the site at which the interceptions occurred.”

United States v. Minaya, No. 17-359, 2019 WL 1615549, at *6 (D.N.J. Apr. 16, 2019), aff’d, 827

F. App’x 232 (3d Cir. 2020); see also Huff, 794 F.3d at 547 (“The relevant location is not where

the Huffs’ conversations took place, but where Spaw used a device to acquire the contents of

those conversations.”). The Complaint alleges that CyberRoot and BellTroX—both located in

India—were responsible for hacking Azima’s emails. Compl. ¶ 74. As the Federal Wiretap Act

does not reach the extraterritorial conduct of the Indian firms, the information was not obtained



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“in violation of” the statute, and therefore its subsequent alleged use or disclosure cannot provide

the basis of a claim here. See 18 U.S.C. § 2511(1)(c), (d).

       IV.     The Court Should Decline to Exercise Supplemental Jurisdiction Over the
               Remaining State Law Claims

       Under 28 U.S.C. § 1367(c), a district court “may decline to exercise supplemental

jurisdiction over a claim” when the court “has dismissed all claims over which it has original

jurisdiction.” This decision “is a matter left to the sound discretion of the district court.”

Edmonson, 48 F.3d at 1265-66. Courts typically decline to exercise supplemental jurisdiction

over state law claims after dismissing federal RICO claims. See Republic of Kazakhstan, 380 F.

Supp. 3d at 65 (after dismissing RICO claim, declining to exercise supplemental jurisdiction

over state law claims); Long Distance Servi. of Washington, Inc. v. MCI Telecomms. Corp., 692

F. Supp. 1402, 1406 (D.D.C. 1988) (same). And this Court should decline to exercise

supplemental jurisdiction over Plaintiff’s state-law claims here.

       V.      The Complaint Fails to State a Claim Under the D.C. Wiretap Act

       To the extent the Court considers the Plaintiff’s state law causes of action, however, it

should dismiss them because they fail to state a claim. Counts IV and V allege violations of the

D.C. Wiretap Act, D.C. Code §§ 23-542(a) and 23-554, which prohibit the “interception” of “any

wire or oral communication.” D.C. Code § 23-542(a). Notably, unlike the Federal Wiretap Act,

the D.C. Wiretap Act does not include within its proscription “electronic communications.” This

makes sense: under the D.C. Code, “intercept” means “the aural acquisition of the contents of

any wire or oral communication through the use of any intercepting device.” D.C. Code § 23-

541(3) (emphasis added); cf. 18 U.S.C. § 2510(4) (federal definition of “intercept” means “the

aural or other acquisition of the contents of any wire, electronic, or oral communication”

(emphasis added)). In other words, it is literally a wiretapping statute, and it does not reach

hacking of emails. As emails cannot be “aurally” intercepted—and, even if they could, that


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certainly is not alleged in the Complaint—Plaintiff’s claims under the D.C. Wiretap Act must be

dismissed.

       VI.     The Complaint Fails to State a Claim For Tortious Interference With
               Business Relationships

       Plaintiff’s tortious interference with business relationships claim (Count VI) fails as well.

In order to state a claim for tortious interference, a plaintiff must plead “(1) the existence of a

valid business relationship or expectancy, (2) knowledge of the relationship or expectancy on the

part of the interferer, (3) intentional interference inducing or causing a breach of termination of

the relationship or expectancy, and (4) resultant damage.” Bennett Enters., Inc. v. Domino’s

Pizza, Inc., 45 F.3d 493, 499 (D.C. Cir. 1995). “A necessary prerequisite to recovery under this

theory is that the interference alleged [has] been both intentional and improper.” Int’l City

Mgmt. Ass’n Ret. Corp. v. Watkins, 726 F. Supp. 1, 6 (D.D.C. 1989). As with much of the

Complaint, Plaintiff’s tortious interference claim improperly lumps all eleven Defendants

together, without identifying the allegedly tortious conduct of any specific defendant.

        Plaintiff’s tortious interference claim founders on several of the required elements.

First, truthful disclosure cannot provide a basis for a tortious interference claim as a matter of

law. It is well-established that the District of Columbia “embraces the Restatement’s definition

of tortious interference and its defenses.” Havilah Real Prop. Servs., LLC v. VLK, LLC, 108

A.3d 334, 349 (D.C. 2015). And under Section 772 of the Restatement of Torts, a plaintiff

cannot base a tortious interference claim on a defendant’s disclosure of “truthful information.”

Restatement (Second) of Torts § 772, cmt. b (1979). Thus, federal and state D.C. courts

consistently dismiss tortious interference claims based solely on truthful disclosures. See, e.g.,

Int’l City Mgmt. Ass’n Ret. Corp. v. Watkins, 726 F. Supp. at 6-7; see also Bennett Enters., Inc.,

45 F.3d at 499 (reversing district court’s judgment because defendant’s disclosure of truthful

information was insufficient to establish tortious interference claim). Here, although Plaintiff


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alleges that his communications were “stolen and manipulated,” Compl. ¶ 97, he does not allege

that they were altered in any respect. Thus, Plaintiff’s tortious interference claim—based on the

disclosure of actual emails—must also be dismissed.

       Second, Plaintiff fails to plead the existence of a valid business relationship or expectancy

with the requisite specificity. “Specific facts about the terms of the relationships and whether the

employees were subject to at-will employment agreements are necessary to state a plausible

claim” for tortious interference with economic advantage. Econ. Rsch. Servs., Inc. v. Resol.

Econ., LLC, 208 F. Supp. 3d 219, 229 (D.D.C. 2016) (dismissing plaintiff’s tortious interference

claim for insufficient pleading). This is not a matter of quibbling over technicalities; under D.C.

law, an at-will employment agreement cannot provide a basis for a tortious interference claim.

Id. at 229-30; Riggs v. Home Builders Inst., 203 F. Supp. 2d 1, 24 (D.D.C. 2002); McManus v.

MCI Commc’ns Corp., 748 A.2d 949, 957 (D.C. 2000). Plaintiff does not allege he had anything

more than that here.

       Plaintiff’s other alleged expectancies are far too speculative to sustain his tortious

interference claim. Plaintiff alleges that he lost “opportunities to build on his reputation such as

prestigious job opportunities, high value speaking engagements and book publishing deals that

would have otherwise been available to him.” Compl. ¶ 206. But beyond these conclusory

allegations, Plaintiff does not “name [any] specific contractual relationships that the defendant

allegedly interfered with, or . . . identify any facts related to future contracts compromised by the

alleged interferer.” Nyambal v. Alliedbarton Sec. Servs., LLC, 153 F. Supp. 3d 309, 316 (D.D.C.

2016), reconsidered on other grounds, 344 F. Supp. 3d 183 (D.D.C. 2018). And even if he had,

Plaintiff also fails to allege any “knowledge of the relationship or expectancy on the part of”

Defendants. Bennett Enters., Inc., 45 F.3d at 499.




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       Third, Plaintiff does not adequately plead a “‘substantial and direct causal link’ between

[Defendants’] alleged interference and the damages suffered.” Newmyer v. Sidwell Friends Sch.,

128 A.3d 1023, 1039 (D.C. 2015) (internal citation omitted). Plaintiff fails to articulate or even

distinguish among Defendants who are responsible for the purported interference. See, e.g.,

Toumazou, 71 F. Supp. 3d at 21 (explaining that a plaintiff cannot satisfy Rule 8’s requirements

by “lumping all the defendants together in each claim and providing no factual basis to

distinguish their conduct” (internal citation omitted)). Moreover, instead of a “substantial and

direct link,” Plaintiff provides a theory of causation that is at least three steps removed from any

alleged interference by Defendants. See supra at 31-2; Compl. ¶ 205 (alleging that Defendants

disclosed Plaintiff’s emails to media, media outlets independently chose to report on those

emails, and those reports resulted in the Journal’s independent decision to fire Plaintiff); see also

Cheeks of N. Am., Inc. v. Fort Myer Constr. Corp., 807 F. Supp. 2d 77, 98 (D.D.C. 2011).

       Thus, Plaintiff’s tortious interference claim should be dismissed.

       VII.    The Complaint Fails to State a Claim For “Civil Conspiracy”

       Count VII of the Complaint alleges “civil conspiracy.” See Compl. ¶¶ 208-13. Of

course, “there is no recognized independent tort action for civil conspiracy in the District of

Columbia.” Halberstam v. Welch, 705 F.2d 472, 479 (D.C. Cir. 1983) (emphasis omitted)

(quoting Waldon v. Covington, 415 A.2d 1070, 1074 n.14 (D.C. 1980)). Thus, civil conspiracy is

“not independently actionable; rather, it is a means for establishing vicarious liability for the

underlying tort.” Id. This claim should therefore be dismissed because, as established above,

Plaintiff has failed to allege any underlying tort. See Meng v. Schwartz, 305 F. Supp. 2d 49, 60

(D.D.C. 2004) (“[D]ismissal of the plaintiffs’ breach of fiduciary duty and negligence claims

also disposes of any underlying tort to which the civil conspiracy claim could have attached,




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necessitating its dismissal.”); Schwartz v. Schwartz, No. 19-cv-00340, 2021 WL 4589084, at *5

(D.D.C. Oct. 6, 2021) (same).

       Plaintiff attempts to add an additional tort to his “civil conspiracy” claim: an allegation

that Defendants violated the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030.

Compl. ¶ 210. It is telling that Plaintiff does not even try to assert a straightforward CFAA

claim. Even if he had, such a claim would fail because Plaintiff has not alleged an injury under

the CFAA. See Halbertsam, 705 F.2d at 479 (“[A]greement can only lead to liability if an act

pursuant to it causes injury.”). CFAA injuries are focused on “physical damage to property” and

have otherwise “been limited to those costs necessary to assess the damage caused to the

plaintiff’s computer system or to resecure the system in the wake of a hacking attack.” Tyco Int’l

(US) Inc. v. John Does, No. 01-cv-3856, 2003 WL 21638205, at *1 (S.D.N.Y. July 11, 2003).

Plaintiff alleges no such damages.

       In all events, a claim of civil conspiracy does not lie for a statutory violation with no

common law analogue. See Sundberg v. TTR Realty, LLC, 109 A.3d 1123, 1129-30 (D.C. 2015)

(“[W]e . . . have cited authority that ‘a claim of civil conspiracy does not lie for a violation of a

statute’ absent statutory language to the contrary.”) (quoting Exec. Sandwich Shoppe, Inc., 749

A.2d at 739); Findlay v. CitiMortgage, Inc., 813 F. Supp. 2d 108, 122 (D.D.C. 2011) (rejecting

civil conspiracy claim under Consumer Protection Procedures Act and noting that “the District of

Columbia Court of Appeals has expressed skepticism about statutory violations serving as

‘underlying torts’ for civil conspiracy claims where the statutory right at issue has no common

law tort analogue”). There is no common law analogue to the CFAA and thus it cannot sustain a

civil conspiracy claim. Id.




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       VIII. The Complaint Fails to State a Claim for Punitive Damages

       Plaintiff’s eighth cause of action seeks punitive damages pursuant to RICO. It fails along

with the RICO claim. Moreover, the statute Plaintiff cites—18 U.S.C. § 1964(c)—does not

provide for punitive damages. See, e.g., Galerie Furstenberg v. Coffaro, 697 F. Supp. 1282,

1289 (S.D.N.Y. 1988) (stating that RICO’s “plain language do[es] not allow for punitive

damages”).

                                        CONCLUSION

       For the foregoing reasons, Dechert respectfully requests that the Court dismiss Plaintiff’s

Complaint with prejudice.

Dated: February 3, 2023
       New York, New York                           _____________________________
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